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Case 4:12-cr-00170-RCC-BPV Document 26-1 Filed 10/12/12 Page 2 of 15

Julie Nelson

13 Shoshone River Dr
Cody, WY 82414

T (307)587-1445

kirknjulie@msn.com

July 25, 2012

Dear Honorable Raner Collins,

I am Julie Nelson, former elementary school teacher to Andy Crawford. Andy

was a very kind, well-behaved student. He never gave me any trouble.

I remember him loving airplanes and rockets, and was not surprised when he

chose a military career.

I was horrified and saddened to hear of the things Andy became involved in,

and the consequences that he is suffermg because of his poor choices.

I know Andy’s family personally, and I know that they will come along side him
and provide accountability for him to avoid any reoffending of his crimes. They
intend to get him all of the help he needs to break free of this stronghold.

I am asking for you show leniency toward Andy, as this is his first offense, and
very out of character from what I know of him and his upbringing. I know the
lost career, and disappointment of his family has been devastating. [ know that
he and his support system are very motivated to seek counsel for healing of this

young Mani.

Sincerely yours,

Julie Nelson
Case 4:12-cr-00170-RCC-BPV Document 26-1 Filed 10/12/12 Page 3 of 15

196 Diamond Basin Rd.
Cody, WY 82414
July 20, 2012

Dear Honorable Raner Collins:

Iam a cousin by marriage to Andrew Crawford and have known
him since he was a young toddler. Iam an elementary teacher
grades K-5 in a one-room schoolhouse and began my career in
1976.

Andrew has always been quiet, studious, thoughtful, kind to all,
and respectful to adults. He possesses a quick wit, adding laughter
to our numerous family gatherings. He was law-abiding growing
up and stayed away from drugs, alcohol, and kid/teenage problems.
He cherished God, his country, and his family.

I was shocked upon learning of his incarceration! This is NOT
the Andy I knew. He LOVED serving his country and was working
towards becoming a pilot. He had dreams that came shattering
down around him. His family and friends were also wounded by
his dreadful actions. Iam heartsick and saddened by the course
his life has taken. This is NOT the sweet, innocent, whimsical,
bright, loving, young man I know.

Andrew has a very strong family, church, and friendship base. I
know he wants to turn his life around in the right direction. Andy’s
parents, Clayton and Jenna Crawford, will ensure that he gets the
necessary help. They are determined and stalwart in their desire
to see their son in a treatment program, trying to ensure that he
does not repeat the same offences.

Thank you for your consideration in reviewing Andrew’s case. I
know he has made terrible mistakes and needs to pay for his
actions. He has impacted many lives by his actions. Justice needs
to be served. But I also know that he has the desire to turn his life
around with heip from the many of us who love him.

Respectfully,

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Case 4:12-cr-00170-RCC-BPV Document 26-1 Filed 10/12/12 Page 5 of 15

July 25 2012

Clayton Crawford
11 Grande View Dr.
Cody, WY 82414

Honorable Raner Collins

Dear Honorable Raner Collins

I am writing on behalf of my son Andrew Crawford who is before your court for sentencing for
possession of child pornography.

We as Andy’s family were devastated upon learning of Andy’s involvement in such behavior.
Andy was raised to respect authority and to be upright in his thought life and behavior. We love
our son very much but in no way condone Andy’s involvement in possessing child pornography.
We also recognize our failures and responsibility in Andy’s life as his family.

This has been so difficult to deal with as a family because this is so different from the son that
we know and love. Andy was always very respectful and honest growing up. He was very kind
to those he was around. He spent much of his time in the hobby of rocketry and was very
interested in aeronautics. Andy began the hobby by building model rocket kits and eventually
advanced to the point of designing and building functioning model rockets from scratch. He
joined the Civil Air Patrol while in high school and joined the United States Air Force because
there he was able to both serve his country and be involved in aeronautics. Except for this dark
period in his life, Andy has lived his life in a way that has made me proud as his father.

I know by conversations I have had with Andy and by letters that I have received from him that
he is extremely remorseful for his actions. In discussing the need for counseling, Andy has been
very receptive and I am confident that he will take whatever steps are necessary to reform his
life. We, as his parents, are committed to getting Andy any help he needs to turn his life around.
We have researched live in counseling programs that deal with sexual addiction and have been in
contact with Reformers Unanimous in Rockford, Illinois. We understand that Andy will have a
lot of hard work ahead of him to overcome his past mistakes and will need the support of his
family and friends to have success. We understand the difficulties that lie ahead but will dedicate
whatever we have at our disposal to insure that Andy again will be a man of character who is an
asset to his community. We know that Andy has this same desire and will work to accomplish it.

I thank you for your thoughtful consideration in this matter.

Respectfully J
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Clays Crawford

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Case 4:12-cr-00170-RCC-BPV Document 26-1 Filed 10/12/12 Page 6 of 15

July 19, 2012

Jenna Crawford
11 Grande View Drive
Cody, WY 82414

Honorable Judge Raner Collins
Dear Honorable Raner Collins:

My name is Jenna Crawford and I am the mother of Andrew
Crawford. I am married to Andy’s father Clayton and Andy has two
older brothers, both of which served in the military. I am
writing on behalf of Andrew who faces sentencing for his
possession of Child Pornography. It is important to me that you
know how much I love and support my son. I do not condone the
actions he has taken but I am his mother and I will always have
unconditional love for him. I never would have thought he would
ever get himself into such a horrible mess.

Andy has always been a very hard working, respectful and
patriotic person. He has always had a love of science and worked
hard to learn all he could. When Andy was in High School he
found that our local town had a Civil Air Patrol club. He
readily joined and always wished he would have known about the
club sooner. He has always had a dream of working on planes or
jets and he also loved aeronautics and building his own rockets.
He loved sharing with others all he knew about these things.
Then when he got accepted into the United States Air Force and
he actually got the Crew Chief job he always dreamed of, he was
so happy! I do not know where Andy got side tracked or involved
with the pornography but I do know he is so sorry he did. He has
made the statement to me that he had everything going for him.
He had his dream job and he threw it all away. He wants only to
pay for the wrong he has done. He has never fought the charges
and he has owned up to his wrong and responsibility. He truly
has a desire to go for counseling and then go forward and be a
productive member of society. I know he is so sorry for
participating in this activity of viewing the pornography. I
have many regrets in raising our sons but as you know, I can’t
go back. I can only move forward and do all I can to help them
through this. His father and I have found a live in counseling
program in Rockford, IL that we would like to try and get Andy
Case 4:12-cr-00170-RCC-BPV Document 26-1 Filed 10/12/12 Page 7 of 15

into once he is released. They work with men with sexual
addictions and we feel this would be very beneficial to him. [It
is called Reformers Unanimous if you would like to research it.
Andy has shown to me a real heart change. In letters home he has
urged his brothers and friend to always do right and that living
for God is what brings true happiness. I would like to write
just an excerpt of a letter we received from Andy since being in

prison.

“T really do appreciate all of your love and support, and all
the prayers from you and from the church. God is still working
on me every day. I’m learning how to control my thoughts and
truly rely on God for everything, including my safety and
sanity. I am determined more than ever not to waste this
experience, but to use it to build my character. Strength does
not come without adversity and God’s trials will only make us

stronger.”

I believe this really shows Andy’s desire to do right and never
go back and do these things again. If you would like to have a
copy of the actual letters written home, I would be happy to
provide them to you. Any other comments or questions you may
wish to have addressed contact me by letter, by email:
crawford@tritel.net or phone home: 307-587-5783 or mobile: 307-

899-5783

 

Thank you so much Honorable Judge for your time and
consideration of these things.

Sincerely,

 

Jenna Crawford
       
 

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Wapiti Valley. urc ne

Assistant Pastor Joseph Hutcheson
3122 North Fork Highway
Cody, WY 82414
307-587-4789

To Whom It May Concern,

Please find enclosed a letter to Judge Collins on behalf of Andrew Crawford. I
was asked to write this and send it to his lawyer who would pass it on to the judge.

Thanks so much!

Sincere
7. Ji OAKS

Pastor Joseph Hutcheson

"Jesus is the Answer"

  
     
 

 

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RCC Wapiti Valley urc Ne

Assistant Pastor Joseph Hutcheson
3122 North Fork Highway
Cody, WY 82414
307-587-4789

 

Dear Honorable Raner Collins, 7-24-2012

Tam writing on behalf of Andrew Crawford. As one of his Pastors for the last 5 %
years, I am definitely concerned with his situation and want what is best for him.
When all this came out in 2009, we were all shocked and horrified to find out what
he had been involved in and immediately began to do what we could to help him.
Obviously, Andy has a major problem that can only be fixed with time and the
right kind of help. While getting him to a place where he can get this much needed
help is desperately needed, I realize that he must also pay for what he has done. In
no way will I condone what he has done or try to help him “get off easy” but I
would ask that you consider the urgent need for him to get help.

When he was dealing with the same issues here locally in Wyoming, we asked the
judge to allow part of his time to include a home (Reformer’s Unanimous) in
Illinois that deals with men with these types of issues. The judge was going to
allow that possibility after he served at least 9-10 months. After he had served that
time, we were moving towards getting him in the “home” but the decision was
delayed because of the pending case there in Arizona. The judge then said if we
heard nothing in the next 30 days, he would allow Andy to go to Illinois until word
came from Arizona. On the day of his appearance at the end of those 30 days, he
was told that he was going to be taken immediately to Arizona. Obviously, it
wasn’t meant for him to get in the “home” at that time but I still believe that the
sooner we can get Andy there, the quicker he can be helped and begin to recover.

Again, I am not asking to let Andy off from paying for his crime, but I believe that
Andy needs to get help as soon as possible. Please consider the plans of his

parents, who have demonstrated over and over that they are willing to do whatever
they need to do to help Andy get the help that he needs. Thank you for your time.

    

Pastor Josenh Hutcheson

"Jesus is the Answer"
Case 4:12-cr-00170-RCC-BPV Document 26-1 Filed 10/12/12 Page 10 of 15

       

3122 North Fork Hwy Cody, WY 82414

Pastor Bud Wells Associate Joseph Hutcheson
307-587-5409 307-587-3681
bwells(@tctwest.net ishutchesonwy@yahoo.com

 

July 25, 2012

Dear Honorable Raner Coilins,

I am writing to you on behalf of Andrew Crawford. I am Bud Wells, pastor of Andy
and his families’ church.

I have known Andy since about 5 grade. Andy always attended our church regularly with
his parents & siblings. He has always been respectful and had a good rapport with his peers and
the adults in our community. We were all shocked to hear of this disturbing period in his life.

After his incarceration, I visited him in jail every other week for almost a year. It was during
this time that I saw Andy come to his own understanding of the problems he has caused. In his
own mind he cannot believe he stooped to where he is now, neither can people in our church
who knew him. I gained some insight as to the ‘slippery slope’ that he descended. It started with
casual browsing in high school to deeper darker viewing once in the Air Force. He has realized
that he has an addiction and that he can’t fix it by himself.

I, as a pastor, have dealt with several people who have had similar addiction and because
they will always be an addict, must learn how to cope with and get victory over the addiction so
they won’t reoffend. I have recommended to Andy and his family professional counseling in a
full time setting until he can get the victory in this area. Andy and the family have applied and he
has been accepted to, Reformers International, a good facility.

Your Honor, I, as his pastor, will continue to make sure he is held accountable. I have
explained this to Andy and he has agreed to do whatever I feel he should do to get free of this
dreadful addiction. I know his family well and they understand the effort and consistency that
we all have to do for Andy to get well and once again return to a productive citizen, once his
time is served.

Thank you for your careful consideration, as we all want what is best for Andy’s future.

Sincerely, Bud Wells
Case 4:12-cr-00170-RCC-BPV Document 26-1 Filed 10/12/12 Page 11 of 15

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July 19, 2012

Jenna Crawford
11 Grande View Drive
Cody, WY 82414

Honorable Judge Raner Collins
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Thank you so much Honorable Judge for your time and
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Sincerely,

Jenna Crawford
Case 4:12-cr-00170-RCC-BPV Document 26-1 Filed 10/12/12 Page 14 of 15

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